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                Exhibit B
10/21/2020          Case 2:19-cv-05030-JDW Document    64-2
                                               Mail - Seth      Filed
                                                           Carson        10/22/20 Page 2 of 4
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       Re: Barbounis v. MEF--notice of intent
       Seth Carson <seth@dereksmithlaw.com>
       Wed 10/14/2020 7:33 PM
       To: Benson, Leigh Ann <LBenson@cozen.com>
       Cc: Walton, David <DWalton@cozen.com>; Cavalier, Jonathan <JCavalier@cozen.com>; Rhym, Kia B. <KRhym@cozen.com>;
       Sidney Gold <sgold@discrimlaw.net>; Bill Rieser <brieser@discrimlaw.net>

       What are we doing about deps in the next 2 weeks? I need to depose:


             1. Greg Roman,
             2. Daniel Pipes,
             3. Steve Levey,
             4. Matthew Bennett,
             5. Laurence Hollin,
             6. Mark Fink


       These depositions have to be scheduled on one of the following days:

       October 15, 16, 19, 20, 21, 22, 23, 26, 27, 28.

       If you want to schedule depositions for October 29 and 30 - I don't mind using those two
       days if you agree.

       I am available every one of these days but October 16 and 20.

       I am sorry but I have to request court intervention if we do not have dates and times
       certain for all deps in before Friday. There is no reason we cannot get on the phone and
       look at our calendars before Friday and set aside dates.

       I am also willing to schedule depositions on nights or weekends too if necessary so we can
       get them all scheduled.

       Please let me know by tomorrow afternoon that you agree and please suggest a time to
       discuss or confirm dates and times.

       Greg Roman will require a day to himself but I will squeeze in Laurence Hollin or Steve
       Levey on the Greg Roman dep day. So I can do Greg Roman, Steve Levey and Laurence
       Hollin on one day.

       I probably need 2 days for Daniel Pipes, Mark Fink, and Matthew Bennett but I can
       certainly try to get them all scheduled the same day if you would like.


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       Accordingly, I only need 2 days from your clients set aside for depositions as it stands
       now, but I am reserving the right to carry onto day 3 if necessary.

       Therefore, you can use the remaining dates above and I will work with you to get anyone
       else scheduled you need to depose.

       Again, I am going to ask Judge Wolson to order the above if we cannot agree to this in the
       last 2 weeks of discovery.

       Seth D. Carson, Esquire
       Derek Smith Law Group, PLLC
       1835 Market Street
       Suite 2950
       Philadelphia, PA 19103
       Phone: 215.391.4790
       Facsimile: 215.893.5288
       Direct: 484.678.2210
       Email: Seth@DerekSmithLaw.com

       ___________________________________________________________
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       ___________________________________________________________




       From: Benson, Leigh Ann <LBenson@cozen.com>
       Sent: Wednesday, October 14, 2020 6:50 PM
       To: Seth Carson <seth@dereksmithlaw.com>
       Cc: Walton, David <DWalton@cozen.com>; Cavalier, Jonathan <JCavalier@cozen.com>; Rhym, Kia B.
       <KRhym@cozen.com>; Sidney Gold <sgold@discrimlaw.net>; Bill Rieser <brieser@discrimlaw.net>
       Subject: Barbounis v. MEF--no ce of intent

       Seth, please see the a ached.


                                Leigh Ann Benson
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